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       Attorney for Defendant HB Mat Properties
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  8                           UNITED STATES DISTRICT COURT
  9                          CENTRAL DISTRICT OF CALIFORNIA
  10
        James Shayler,                                   Case No.: 2:20-cv-11107-FMO-GJS
  11
               Plaintiff,                                Objections To Plaintiff’s Witness List
  12
        v.
  13                                                     Trial Date: February 22, 2022
  14
        HB Mat Properties, a California limited          Time: 9:00 a.m.
        liability company; and Does 1-10,                Courtroom: 6D
  15

  16           Defendants.

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             Defendant HB Mat Properties, a California limited liability company, hereby

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       objects to plaintiff’s witness list as follows:

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             1.      Hamid Mir, M.D.: Dr. Mir should be excluded from testifying because

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       plaintiff did not list Dr. Mir as an expert in his designation served on July 9, 2021.

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       See Exhibit A.

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             2.      Henry Nathan Jannol, State Bar #66309: Mr. Jannol is a real estate

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       attorney and agent for service of process of defendant. He was not identified in

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       discovery as a witness by plaintiff or defendant and does not have any knowledge of

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       the ownership or operation of the property.

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             3.      Stephen Abraham, Melissa Daugherty and James S. Link: They are

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       attorneys who defend cases prosecuted by Hakimi & Shahriari and other

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       ADA/Unruh serial litigation law firms. Plaintiff’s counsel have not articulated any

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  1    proper purpose for inclusion of these individuals as witnesses. The only purpose
  2    then is improper, such as to harass or even to gain insight into the thought process
  3    and privileged work product of opposing counsel not simply in this case but in
  4    others. Unless Plaintiff can demonstrate that any of these witnesses is able to provide
  5    competent, non-privileged testimony about a probative and material fact in this case
  6    and that such testimony is both indispensable and cannot be introduced by alternate
  7    means, the listed witnesses should be excluded from testifying.
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        Date: January 18, 2022                         ________________________________
  10                                                   James S. Link
  11                                                   Attorney for Defendant
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                                  Objections To Plaintiff’s Witness List
